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                                                                                     2021 Mar-29 PM 03:35
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA


ANGELA DAVIS                              )
                                          )
                Plaintiff,                )
                                          )
v.                                        )      CASE NO. 3:20-CV-01784-LCB
                                          )
BOOKS-A-MILLION, INC. and                 )
UNUM LIFE INSURANCE                       )
COMPANY OF AMERICA,                       )
                                          )
                Defendants.               )

                              JOINT STATUS REPORT

        COME NOW the Parties, and state as follows:

     1. On February 25, 2021, the Court entered an Order providing that, if the Parties

        did not file for dismissal by today, March 29, 2021, the Parties were ordered

        to file a joint status report updating the Court on the status of the settlement.

     2. The Parties report the following update:

            • A settlement agreement has been signed by all Parties.

            • Payment has been sent by Defendants to Plaintiff’s counsel, but the

                payments have yet to be received.

            • The Parties request that the Court allow an additional seven (7) days to

                file the appropriate dismissal pleading.




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Respectfully submitted this 29th day of March, 2021



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